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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 DONNA HARRIS, derivatively on behalf of
 Energy Transfer LP,
                                                     Civil Action No. 2:20-cv-00364-GAM
               Plaintiff,

        v.

 KELCY L. WARREN, THOMAS E. LONG,
 JOHN W. MCREYNOLDS, MARSHALL S.
 MCCREA, III, MATTHEW S. RAMSEY,
 STEVEN R. ANDERSON, RICHARD D.
 BRANNON, RAY C. DAVIS, MICHAEL K.
 GRIMM, RAY W. WASHBURNE, AND LE
 GP, LLC,

               Defendants,

 and

 ENERGY TRANSFER LP,

               Nominal Defendant.



                               STIPULATION AND ORDER

       WHEREAS, on January 21, 2020, Plaintiff Donna Harris, derivatively and on behalf of

Energy Transfer LP filed a Verified Unitholder Derivative Complaint (the “Complaint”) against

Defendants Kelcy L. Warren, Thomas E. Long, John W. McReynolds, Marshall S. McCrea, III,

Matthew S. Ramsey, Steven R. Anderson, Richard D. Brannon, Ray C. Davis, Michael K. Grimm,

and Ray W. Washburne, (collectively, the “Individual Defendants”) and Defendant LE GP, LLC

(“LE GP” or the “General Partner,” and together with the Individual Defendants, the

“Defendants”) (the “Derivative Action”);




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       WHEREAS, there is currently pending in the United States District Court for the Eastern

District of Pennsylvania a securities class action filed on January 10, 2020, styled Allegheny

County Employees’ Retirement System v. Energy Transfer LP, et al., No. 2:20-cv-00200-GAM

(E.D. Pa.) (the “Securities Action”);

       WHEREAS, on June 15, 2020, an amended complaint was filed in the Securities Action;

       WHEREAS, Defendants intend to file a motion to dismiss the amended complaint in the

Securities Action on August 14, 2020;

       WHEREAS, on May 4, 2020, the Court in this Derivative Action entered an order

extending Plaintiff’s time to file an amended complaint (the “Complaint”) and Defendants’ time

to respond to the Complaint;

       WHEREAS, Plaintiff filed a Complaint (Dkt. No. 10) on July 15, 2020;

       WHEREAS, the Securities Action and this Derivative Action contain overlapping

allegations and name some of the same defendants;

       WHEREAS, in light of the similarities between this Derivative Action and the earlier-filed

Securities Action, and in light of the motion to dismiss that Defendants intend to file in the

Securities Action, to conserve the parties’ and judicial resources and to promote “the just, speedy,

and inexpensive determination of [this] action,” Fed. R. Civ. P. 1, the parties to this Derivative

Action (the “Parties”) agree that all proceedings and deadlines in this Derivative Action, including

discovery and Defendants’ obligation to move, answer, or respond to the Complaint, should be

stayed pending resolution of the motion to dismiss the amended complaint in the Securities Action;

       WHEREAS, the parties agree that this Stipulation is made in full reservation of and without

waiver or prejudice of any rights, claims, objections, defenses, arguments, and motions whether in

relation to the Complaint (or any subsequently filed complaint) or otherwise (including the right




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to move for an additional stay after any expiration of the stay stipulated to herein), and whether

procedural, substantive or otherwise, that any party may have.

       IT IS HEREBY STIPULATED AND AGREED by the parties and their undersigned

counsel as follows:

       1.       The Derivative Action shall be stayed until the entry of an order denying the motion

to dismiss the amended complaint in the Securities Action, or a final order dismissing the Securities

Action with prejudice, as the stay will promote the efficient and orderly administration of justice

by coordinating the Derivative Action with the Securities Action;

       2.       Defendants shall promptly notify Plaintiff of any related derivative lawsuits that

they become aware of;

       3.       The Parties agree that if the plaintiff in any related derivative lawsuit refuses to

agree to a stay under similar terms (such that Defendants are required to file a responsive pleading

or other response to a complaint in such action), Plaintiff may lift the agreed stay upon ten (10)

business days’ notice in writing.

       4.       The Parties agree that during the pendency of this stay, Defendants shall not object

to including Plaintiff in any mediation with the plaintiffs in the Securities Litigation and shall not

object to including Plaintiff in any mediation with any purported plaintiff in any related derivative

lawsuit or any other related books and records demand proceeding. If any other party objects to

including Plaintiff in any mediation, then Defendants agree to separately mediate with Plaintiff at

or about the same time;

       5.       Within fifteen (15) days after the occurrence of any of (1) the dismissal of the

Securities Action, with prejudice, by its court, and exhaustion of all appeals related thereto; or (2)

the denial of any motion to dismiss the Securities Action filed by the Securities Litigation




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Defendants; or (3) the lifting on this stay in accordance with Paragraph 3 of this Stipulation, the

Parties shall meet and confer and submit a proposed scheduling order governing further

proceedings in the Derivative Action, including the date by which Defendants must move, answer

or otherwise respond to the Complaint; and

       6.       All deadlines, hearings, or conferences currently scheduled shall be postponed until

the date and time that will be specified in the proposed scheduling order to be submitted by the

Parties, or as otherwise set by the Court.




       SO ORDERED this 11th day of August 2020.




                                                             s/Gerald Austin McHugh__
                                                             United States District Judge




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